Case 1:23-cv-22322-DSL Document 130-1 Entered on FLSD Docket 10/14/2023 Page 1 of 6




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Case 1:23-cv-22322-DSL Document 130-1 Entered on FLSD Docket 10/14/2023 Page 2 of 6
Case
 Case1:23-cv-22322-DSL
       2:22-cv-09096-MCS-JPR
                       Document
                             Document
                                130-1 Entered
                                      43 Filedon
                                               02/15/23
                                                 FLSD Docket
                                                        Page10/14/2023
                                                             1 of 4 PagePage
                                                                         ID #:524
                                                                              3 of 6
Case
 Case1:23-cv-22322-DSL
       2:22-cv-09096-MCS-JPR
                       Document
                             Document
                                130-1 Entered
                                      43 Filedon
                                               02/15/23
                                                 FLSD Docket
                                                        Page10/14/2023
                                                             2 of 4 PagePage
                                                                         ID #:525
                                                                              4 of 6




   I.     BACKGROUND

          Plaintiff seeks an order authorizing service by email “and by posting on a
   designated website.” (EPA 6.) Plaintiff proposes three primary methods of providing
   notice to the purported defendants. First, Plaintiff seeks to use the buyer-seller
   messaging service provided by the online marketplaces of Amazon, AliExpress, and
   Wish. (Id. at 7–9, 17.) Second, as to the Facebook sellers, Plaintiff plans to obtain
   the merchants’ email addresses directly from Facebook. (Id. at 8, 17.) And third,
   Plaintiff proposes creating a website detailing basic information about the case and
   providing links to “all filings and discovery in this matter.” (Id. at 9, 17.) Plaintiff
   argues that because these merchants must provide Amazon, AliExpress, Wish, and
   Facebook their actual email addresses, these channels of communication are reliable
   and effective for providing notice to the purported defendants. (EPA 6–9; Rothman
   Decl. 3–5, ECF No. 35-1.)

   II.    LEGAL STANDARD

         A business entity outside any judicial district of the United States may be
   served in any manner (except personal delivery) outlined in Federal Rule of Civil
   Procedure 4(f), which pertains to service of foreign individuals. Fed. R. Civ. P.
   4(h)(2). Service of foreign individuals may be done “by any internationally agreed
   means of service that is reasonably calculated to give notice, such as those authorized
   by the Hague Convention on the Service Abroad of Judicial and Extrajudicial
   Documents” (“Hague Convention”). Fed. R. Civ. P. 4(f)(1).

          Alternatively, a court may order service on an overseas defendant to be done
   “by other means not prohibited by international agreement.” Fed. R. Civ. P. 4(f)(3).
   Courts have discretion to order alternative service when “the particularities and
   necessities of a given case require alternative service of process.” Rio Props., Inc. v.
   Rio Int’l Interlink, 284 F.3d 1007, 1016 (9th Cir. 2002). This rule “is neither a last
   resort nor extraordinary relief. It is merely one means among several which enables
   service of process on an international defendant.” Id. at 1015 (citation and internal
   quotation marks omitted). The authorized method must not be prohibited by
   international agreement and must comport with constitutional notions of due
   process. Id. at 1014, 1016–17.




    Page 2 of 4                   CIVIL MINUTES – GENERAL        Initials of Deputy Clerk SMO
Case
 Case1:23-cv-22322-DSL
       2:22-cv-09096-MCS-JPR
                       Document
                             Document
                                130-1 Entered
                                      43 Filedon
                                               02/15/23
                                                 FLSD Docket
                                                        Page10/14/2023
                                                             3 of 4 PagePage
                                                                         ID #:526
                                                                              5 of 6




   III.   DISCUSSION

          As a preliminary matter, the Court lacks sufficient information about the
   whereabouts of the purported defendants to ascertain whether service by email is
   prohibited by international agreement. The Hague Convention on the Service
   Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters, the
   international agreement most frequently analyzed in Rule 4(f)(3) inquiries, does not
   prohibit service by electronic means. Victaulic Co. v. Allied Rubber & Gasket Co.,
   Inc., No. 3:17-cv-01006-BEN-JLB, 2020 U.S. Dist. LEXIS 82150, at *7 (S.D. Cal.
   May 8, 2020) (citing Hague Convention art. 10). However, several signatories to the
   Convention have taken reservations to certain provisions, including the People’s
   Republic of China. Declaration/Reservation/Notification, https://www.hcch.net/en/
   instruments/conventions/status-table/notifications/?csid=393&disp=resdn. Plaintiff
   proffers that China’s reservation to the Convention does not preclude service by
   electronic means. (EPA 14.) Many courts in this district concur. E.g., id. at *7–8
   (collecting cases); Likas v. ChinaCache Int’l Holdings, Ltd., No. CV 19-6942 FMO
   (SSx), 2020 U.S. Dist. LEXIS 90923, at *6–7 (C.D. Cal. Jan. 29, 2020) (same). But
   Plaintiff offers no assurances that each of the 600-odd business entities listed in
   Schedules A and B are Chinese entities. To the contrary, Plaintiff acknowledges that
   it “has good cause to suspect Defendants are residing in and/or operating from the
   People’s Republic of China . . . or other foreign countries.” (EPA 14 (emphasis
   added).) Without more specificity or evidence as to the countries of origin of all
   defendants, the Court cannot confirm whether authorizing service by electronic
   means would derogate those sovereigns’ qualified or unqualified assent to the Hague
   Convention.

         Notwithstanding the Court’s reservations regarding the geographic location of
   the purported defendants, Plaintiff’s ex parte request fails for failing to establish that
   service by email would comport with due process. Service by email could be
   reasonably calculated to give notice to defendants, but courts in this circuit
   authorizing such service have required plaintiffs to send test emails to confirm
   deliverability. E.g., TV Ears, Inc. v. Joyshiya Dev. Ltd., No. 3:20-cv-01708-WQH-
   BGS, 2021 U.S. Dist. LEXIS 10071, at *9–11 (S.D. Cal. Jan. 19, 2021) (concluding
   due process was satisfied where plaintiff sent a test email to address on file with the
   USPTO); Toyo Tire & Rubber Co., Ltd. v. CIA Wheel Grp., No. SA CV 15-0246-
   DOC (DFMx), 2016 U.S. Dist. LEXIS 43128, at *8–9 (C.D. Cal. Mar. 25, 2016)
   (same); see also Goes Int’l, AB v. Dodur Ltd., No. 14-CV-5666 LB, 2015 U.S. Dist.
   LEXIS 50394, at *7–8 (N.D. Cal. Apr. 16, 2015) (observing that sending test emails
   “provides at least some minimal assurance that the email address is legitimate”).

    Page 3 of 4                    CIVIL MINUTES – GENERAL        Initials of Deputy Clerk SMO
Case
 Case1:23-cv-22322-DSL
       2:22-cv-09096-MCS-JPR
                       Document
                             Document
                                130-1 Entered
                                      43 Filedon
                                               02/15/23
                                                 FLSD Docket
                                                        Page10/14/2023
                                                             4 of 4 PagePage
                                                                         ID #:527
                                                                              6 of 6




   Plaintiff has provided no indication that it attempted to send test emails or messages
   demonstrating “that the parties being served regularly use[] those means to
   communicate.” GSV Futures LLC v. Casmain L.P., No. 22-cv-05449-LB, 2022 U.S.
   Dist. LEXIS 205413, at *6 (N.D. Cal. Nov. 10, 2022); (see generally EPA; Rothman
   Decl.) While communicating through a marketplace messaging service may add an
   indicium of reliability, whether these merchants continue to use these channels of
   communication is a separate question of constitutional import. Accordingly, Plaintiff
   has not shown that service by email would be reasonably calculated to provide actual
   notice of this action. Rio Props., 284 F.3d at 1016–17.

   IV.    CONCLUSION

          The application is denied without prejudice to renewal upon curing the defects
   identified in this Order. Any renewed motion or application should comport with
   regular motion procedures, e.g., C.D. Cal. Rs. 6-1, 7-4, or adequate cause for hearing
   on an emergency basis, Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp.
   488, 492 (C.D. Cal. 1995).

   IT IS SO ORDERED.




    Page 4 of 4                   CIVIL MINUTES – GENERAL      Initials of Deputy Clerk SMO
